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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

              Plaintiff,

       vs.                                           No. 21-CV-00108 KWR/KK

UNITED STATES OF AMERICA,

              Defendant.

                       THIRD MOTION FOR EXTENSION OF TIME
                           TO FILE CLOSING DOCUMENTS

       Defendant United States of America moves the Court for a 7-day extension of time for the

parties to file the closing documents in this matter from September 6, 2022, to September 13, 2022.

The Court granted a previous extension to September 6, 2022, and originally ordered the parties to

submit closing documents by no later than July 5, 2022. Defendant needs the additional time for

the Agency to process and pay the claim.

       The United States sought Plaintiff’s position on this motion and Plaintiff agrees to the

extension.

                                                     Respectfully submitted,

                                                     ALEXANDER M. M. UBALLEZ
                                                     United States Attorney

                                                     /s/ Ruth F. Keegan 9/6/22
                                                     RUTH F. KEEGAN
                                                     Assistant United States Attorney
                                                     District of New Mexico
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 6, 2022, I filed the foregoing pleading electronically
through the CM/ECF system which caused all parties or counsel of record to be served by
electronic means as more fully reflected on the Notice of Electronic Filing.

                                                      /s/ Ruth F. Keegan 9/6/22
                                                      RUTH F. KEEGAN
                                                      Assistant United States Attorney




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